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 5
     Attorney for Defendant,
 6   RAUL HIGUERA-PARRA

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                        IN THE UNITED STATES DISTRICT COURT FOR THE
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                                 EASTERN DISTRICT OF CALIFORNIA
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12
     UNITED STATES OF AMERICA,                            )
13                                                        )
                           Plaintiff,                     )      CASE NO: 07-CR-00144-AWI
14                                                        )
                                                          )      STIPULATION TO CONTINUE
15                          v.                            )      MOTIONS HEARING AND
                                                          )      FILING DEADLINES
16   RAUL HIGUERA PARRA, et al.                           )
                                                          )
17                         Defendants.                    )      HON. ANTHONY W. ISHII
                                                          )
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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, KATHLEEN A. SERVATIUS, Assistant United States Attorney for Plaintiff, ALEX
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     KESSEL, attorney for defendant Raul Higuera Parra and RONALD HEDDING, attorney for
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     Angela Guadalupe Higuera, request that the current briefing schedule and motions hearing be
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     vacated and a new one be set as follows:
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            November 3, 2008 - replies due
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            November 17, 2008 at 9:00 a.m.- Hearing on motions
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            Counsel for Defendant Raul Higuera-Parra is engaged in trial in the matter of People vs.
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         Case 1:07-cr-00144-AWI Document 44 Filed 09/18/08 Page 2 of 3



 1   Nicolas Real, case number BA325156 in Division 134 of the Los Angeles County Superior Court,

 2   Central District in Los Angeles. This is a multiple count assault with a firearm case wherein the

 3   defendant is in custody..

 4          Counsel for the defendants require time to prepare their replies to the government’s

 5   oppositions to defendants’ previously filed motion.

 6          In light of the above, all parties stipulate that time shall be excluded for the above purposes

 7   until the new hearing date of November 17, 2008, pursuant to 18 U.S.C. § 3161(h)(8)(A).

 8   Dated: September 16, 2008                             Respectfully submitted,

 9
                                                           /s/ALEX KESSEL
10                                                         Counsel for Raul Higuera Parra

11
                                                           /s/RONALD HEDDING
12                                                         Counsel for Angela Guadalupe Higuera

13

14                                                         McGREGOR W. SCOTT
                                                           United States Attorney
15

16                                                         /s/ Kathleen Servatius
                                                           KATHLEEN SERVATIUS
17                                                         Assistant U.S. Attorney

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 1                                                ORDER

 2          The parties stipulated request to vacate the current briefing schedule and hearing on

 3   motions currently set for September 22, 2008 is hereby GRANTED. The new briefing schedule

 4   and hearing date are as follows:

 5          November 3, 2008- replies due

 6          November 17, 2008 at 9:00 a.m.- Hearing on motions

 7
            Time shall be excluded pursuant to 18 U.S.C. § 3161(h)(8)(A) at both parties request to
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     allow for further investigation by defense counsel.
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     IT IS SO ORDERED.
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     Dated:     September 16, 2008                    /s/ Anthony W. Ishii
12   0m8i78                                  CHIEF UNITED STATES DISTRICT JUDGE

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